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UNITED STATES DISTRICT CoURT /) " \ @/)

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G»C`/
EDNA MAE MCCAGE ROBERTS `J/ 17
Plaintiff,

vs. 1 :04cvl 337~T/Ar1

CALVIN HOWELL and MRS. CALVIN
HOWELL, d/b/a APPLE CREEK TOWN
CENTER

\-_/\_/\-/\_/\-J\-/\_/\_/\._/

Defendants.

RULE 16¢b1 SCHEDULING ORDER

Pursuant to the scheduling conference set by written notice, the following dates
are established as the final dates for:
INIITIAL DISCLOSURES (RULE 26(a)(1):

June 10, 2005

JOINING PARTIES:
for Plaintiff: July 22, 2005
for Defendant: August 22, 2005
AMENDING PLEAnINGS:
for Plaintiff: }uly 22, 2005
for Defendant: August 22, 2005

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with Hulo 58 and.'or]B (a) FRCP on

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COMPLETING ALL DISCOVERY:
(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and
REQUESTS FOR ADMISSIONS: Decernber 16, 2005
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: 0ctober 14, 2005
(ii) Defendant’s Experts: November 15, 2005
(iii) Supplementation under Rule 26(e): November 28, 2005
(c) DEPOSITIONS OF EXPERTS: December 16, 2005
FILING DISPOSITIVE M()TIONS: January 10, 2006
FINAL LISTS OF WITNESSES AND EXHIBITS (Ruie 16(a)(3):
(a) for Plaintiff: February 23, 2006
for Defendant: March 10, 2006
Parties shall have 10 days after service of final lists of Witnesses and exhibits to
file objections under Rule 26(a)(3).
The trial of this matter is expected to last 3 days and is SET for JURY TRIAL on

Monday, April 10, 2006, at 9:30 A.M. A joint pretrial order is due on Friday, March 31,

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JUDGE

Dated: 277/7 /7[, 2@~(

2006.

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CONSENTED BY THE PARTIES:

 

Jackson, Tennessee 3 83 02
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' .Sessions (B. P. R. #15017)0 ©MMM
Attorneys for Defendant
1715 Aaron Brenner Drive, Suite 512
Memphis, Tennessee 38120

 

 

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This notice confirms a copy of` the document docketed as number 11 in
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May 18, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

